Case 1:20-cr-00073-TSE Document 26 Filed 02/01/22 Page 1 of 13 PageID# 141


                                                                                       CLOSED
                             U.S. District Court
                  Eastern District of Virginia − (Alexandria)
            CRIMINAL DOCKET FOR CASE #: 1:20−cr−00073−TSE−1

Case title: USA v. Galloway                              Date Filed: 03/09/2020
                                                         Date Terminated: 10/30/2020

Assigned to: District Judge T. S.
Ellis, III

Defendant (1)
Thomas Richard Gallaway             represented by Amy Lovell Wilson
TERMINATED: 10/30/2020                             Amy L Wilson PLC
                                                   10623 Jones St
                                                   Suite 101A
                                                   Fairfax, VA 22030
                                                   703 564−2188
                                                   Fax: 703 790−8000
                                                   Email: aklwilson@yahoo.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

Pending Counts                                    Disposition
21:846 CONSPIRACY TO
DISTRIBUTE CONTROLLED
                                                  27 months −BOP. 3 year SR Term
SUBSTANCE
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                 Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                        Disposition
None
Case 1:20-cr-00073-TSE Document 26 Filed 02/01/22 Page 2 of 13 PageID# 142




Plaintiff
USA                                          represented by Carina Cuellar
                                                            US Attorney's Office (Alexandria−NA)
                                                            2100 Jamieson Avenue
                                                            Alexandria, VA 22314
                                                            **NA**
                                                            703−299−3700
                                                            Email: carina.cuellar@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney

 Date Filed   #   Page Docket Text
 03/09/2020            Set Hearing as to Thomas Richard Galloway: Pre−Indictment Plea Hearing
                       set for 3/27/2020 at 02:00 PM in Alexandria Courtroom 900 before District
                       Judge T. S. Ellis III. (tran) (Entered: 03/09/2020)
 03/17/2020            Pre−Indictment Plea Hearing set for Friday, March 27, 2020 at 2:00 p.m. as to
                       Thomas Richard Galloway −Terminated: Pursuant to General Order No.
                       2020−03 issued by Mark S. Davis, Chief United States District Judge. (tran)
                       (Entered: 03/17/2020)
 04/13/2020   2        ORDER− It is hereby ORDERED that a plea hearing in this matter is
                       SCHEDULED for Friday, June 12, 2020 at 2:30 p.m. as to Thomas Richard
                       Galloway. Signed by District Judge T. S. Ellis, III on 4/13/2020. (dest, )
                       (Entered: 04/13/2020)
 04/13/2020            Reset Deadlines/Hearings as to Thomas Richard Galloway: Pre−Indictment
                       Plea Hearing reset for 6/12/2020 at 02:30 PM in Alexandria Courtroom 900
                       before District Judge T. S. Ellis III. (dest, ) (Entered: 04/13/2020)
 04/13/2020            Reset Hearing as to Thomas Richard Galloway: Pre−Indictment Plea Hearing
                       reset for 6/26/2020 at 03:00 PM in Alexandria Courtroom 900 before District
                       Judge T. S. Ellis III. (tran) (Entered: 04/13/2020)
 06/25/2020   3        Pretrial Services Bond REPORT (Initial Pretrial Services Bond Report)
                       (SEALED − government and defense counsel) as to Thomas Richard Galloway.
                       (pet, leo) (Entered: 06/25/2020)
 06/26/2020   4        NOTICE OF ATTORNEY APPEARANCE: Amy Lovell Wilson appearing for
                       Thomas Richard Galloway (Wilson, Amy) (Entered: 06/26/2020)
 06/26/2020   5        WAIVER OF INDICTMENT by Thomas Richard Galloway (tran) (Entered:
                       06/26/2020)
 06/26/2020   6        CRIMINAL INFORMATION as to Thomas Richard Galloway (1) count(s) 1.
                       (tran) (Entered: 06/26/2020)
 06/26/2020   7        Minute Entry for proceedings held before District Judge T. S. Ellis, III:
                       Pre−Indictment Plea Hearing as to Thomas Richard Galloway held on
                       6/26/2020.
                       USA appeared through Carina Cuellar. Defendant appeared with counsel, Amy
                       Wilson.
Case 1:20-cr-00073-TSE Document 26 Filed 02/01/22 Page 3 of 13 PageID# 143



                    Defendant waived right to indictment, was informed of penalties and rights, and
                    pled guilty to Count I of the Criminal Information 6 . Plea accepted. Defendant
                    referred to PO for preparation of a PSR and Sentencing set for 10/30/2020 at
                    09:00 AM in Alexandria Courtroom 900 before District Judge T. S. Ellis III.
                    Oral Motion to Defer Reported −DENIED.
                    Defendant remanded.
                    Court Reporter: P. Kaneshiro−Miller
                    (tran) (Entered: 06/26/2020)
 06/26/2020    8    Redacted Criminal Case Cover Sheet (tran) (Entered: 06/26/2020)
 06/26/2020    9    PLEA AGREEMENT as to Thomas Richard Galloway (tran) (Additional
                    attachment(s) added on 6/26/2020: # 1 Under Seal Addendum) (tran, ).
                    (Entered: 06/26/2020)
 06/26/2020   10    Statement of Facts as to Thomas Richard Galloway (tran) (Entered: 06/26/2020)
 09/25/2020   11    PRESENTENCE INVESTIGATION REPORT (Disclosed Presentence
                    Investigation Report) (SEALED − government and defense counsel) as to
                    Thomas Richard Galloway. Objections to PSI due 10/12/2020. (compher, tara)
                    (Entered: 09/25/2020)
 10/22/2020   12    PRESENTENCE INVESTIGATION REPORT (Sentencing Presentence
                    Investigation Report) (SEALED − government and defense counsel) as to
                    Thomas Richard Galloway. (Attachments: # 1 Letter Attorney)(santiago,
                    claritza) (Entered: 10/22/2020)
 10/26/2020   14    Sealed Position in Sentencing by USA (dest, ) (Entered: 10/26/2020)
 10/26/2020   15    Sealed Motion by USA as to Thomas Richard Galloway. (dest, ) (Entered:
                    10/26/2020)
 10/26/2020   16    MOTION to Seal by Thomas Richard Galloway. (Attachments: # 1 Proposed
                    Order)(Wilson, Amy) (Entered: 10/26/2020)
 10/27/2020   17    ORDER granting 16 Motion to Seal as to Thomas Richard Galloway (1). Signed
                    by District Judge T. S. Ellis, III on 10/27/2020. (see Order for details) (dest, )
                    (Entered: 10/27/2020)
 10/28/2020   18    Sealed Position on Sentencing by Thomas Richard Galloway. (Attachments: # 1
                    Attachment A, # 2 Attachment B, # 3 Attachment C)(aott, ) (Entered:
                    10/28/2020)
 10/30/2020   19    Minute Entry for proceedings held before District Judge T. S. Ellis, III:
                    Sentencing held on 10/30/2020.
                    Court Reporter: T. Harris
                    (tran) (Entered: 10/30/2020)
 10/30/2020   20    JUDGMENT as to Thomas Richard Galloway, Count(s) 1, 27 months w/credit
                    for time served w/3 year SR Term with special conditions; $100 SA. Signed by
                    District Judge T. S. Ellis, III on 10/30/2020. (tran) (Entered: 10/30/2020)
 10/30/2020   21    Sealed Statement of Reasons as to Thomas Richard Galloway. (tran) (Entered:
                    10/30/2020)
 10/30/2020   22    Confidential Information Page re: Judgment as to Thomas Richard Galloway.
                    (tran) (Entered: 10/30/2020)
Case 1:20-cr-00073-TSE Document 26 Filed 02/01/22 Page 4 of 13 PageID# 144



 11/19/2020   23    Mail sent to Attorney Amy Lovell Wilson returned as undeliverable. (dest, )
                    (Entered: 11/19/2020)
 05/28/2021   24    Waiver of Hearing to Modify Conditions of Probation/Supervised Release or
                    Extend Term of Supervision as to Thomas Richard Gallaway. (kgall) (Entered:
                    05/28/2021)
 02/01/2022   25    Probation Jurisdiction Transferred to District of Arizona as to Thomas Richard
                    Gallaway Transmitted Transfer of Jurisdiction form, with certified copies of
                    indictment, judgment and docket sheet. (dvanm) (Entered: 02/01/2022)
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      1:20-cr-00073-TSE
         1:20-cr-00073-TSEDocument
                            Document
                                   266 Filed
                                        Filed02/01/22
                                              06/26/20 Page
                                                        Page51ofof13
                                                                   1 PageID#
                                                                      PageID 9
                                                                             145




                    IN THE UNITED STATES DISTRICT COURT FOR THE

                                                                                         _tNOPEN^mnRT
                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division                                  i - G 2020

UNITED STATES OF AMERICA


                                                     Criminal No. 1:20-cr-73


THOMAS RICHARD GALLAWAY,                             The Hon. T.S. Ellis, III

       Defendant.


                                 CRIMINAL INFORMATION


                                          COUNT ONE


       THE UNITED STATES ATTORNEY CHARGES THAT:


       Between in and around September 2015 and continuing through in and around April

2016, in Fairfax County, Virginia, vrithin the Eastern District of Virginia and elsewhere, the

defendant, THOMAS RICHARD GALLAWAY,did unlawfully, knowingly, and intentionally

combine, conspire, confederate, and agree with Jimmy Oliver Zeigler II, Kimberly Roxann

Braun, Kallie Ann Sack, and other persons, both known and unknown,to unlawfully, knowingly,

and intentionally distribute fifty grams or more of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1).

       (In violation of Title 21, United States Code, Section 846)


                                                     Respectfully submitted,

                                                     G. Zachary Terwilliger
                                                     United States Attorney



                                                     Carina A. cuenar
                                                     Assistant United States Attorney
            Case
            Case1:20-cr-00073-TSE
                 1:20-cr-00073-TSE Document
                                   Document26
                                            20 Filed
                                               Filed02/01/22
                                                     10/30/20 Page
                                                              Page61of
                                                                     of13
                                                                        7 PageID#
                                                                          PageID 124
                                                                                  146
AO 245B (Rev. 09/11)(VAED rev. 2)Sheet I - Judgment in a Criminal Case



                                            UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                            Alexandria Division

 UNITED STATES OF AMERICA
                                     V.                                  Case Number: 1:20-cr-00073-TSE-l

 THOMAS RICHARD GALLAWAY                                                 USM Number:02722-509
 Defendant.                                                              Defendant's Attorney: Amy Lovell Wilson, Esquire


                                            JUDGMENT IN A CRIMINAL CASE
    The defendant pleaded guilty to Count 1 ofthe Criminal Information.
   Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

 Title and Section                        Nature of Offense                       Offense Class     Offense Ended       Count

 21 U.S.C. § 846                       Conspiracy to Distribute 50 Grams or       Felony            04/2016                 1
                                          More of Methamphetamine

  As pronounced on October 30, 2020, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 30th day of October, 2020.




                                                                              T. S. EUis, m
                                                                              United States Dis ict Judge
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Case1:20-cr-00073-TSE
     1:20-cr-00073-TSE Document
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                                         10/30/20 Page
                                                  Page72of
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                                                            7 PageID#
                                                              PageID 125
                                                                      147
Case
Case1:20-cr-00073-TSE
     1:20-cr-00073-TSE Document
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                                   Filed02/01/22
                                         10/30/20 Page
                                                  Page83of
                                                         of13
                                                            7 PageID#
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Case1:20-cr-00073-TSE
     1:20-cr-00073-TSE Document
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                                         10/30/20 Page
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 Case1:20-cr-00073-TSE
      1:20-cr-00073-TSE Document
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                                            10/30/20 Page
                                                      Page10
                                                           5 of 13
                                                                7 PageID
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 Case1:20-cr-00073-TSE
      1:20-cr-00073-TSE Document
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                                            10/30/20 Page
                                                      Page11
                                                           6 of 13
                                                                7 PageID
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Case
 Case1:20-cr-00073-TSE
      1:20-cr-00073-TSE Document
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                                            10/30/20 Page
                                                      Page12
                                                           7 of 13
                                                                7 PageID
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          Case1:20-cr-00073-TSE
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Pfob 22(VAE Rev,4/13)                                                                                            DOCKET NUMBER (Tran. Court)
                              TRANSFER OF JURISDICTION                                                           1:20CR73

                                                                                                                 DOCKET NUMBER {Rec. Court)
                                                                                                                 CR-22-50020-PHX-DWL
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                         DISTRICT                            DIVISION


Thomas Richard Gallaway                                                      EASTERN DISTRICT OF                 Alexandria
                                                                             VIRGINIA


                                                                             NAME OF SENTENCING JUDGE


                                                                             The Honorable

                                                                             DATES OF PROBATION/SUPERVISED       FROM           TO
                                                                             RELEASE:                            I/18/22        1/17/25


OFFENSE:


Conspiracy to Distribute 50 Grams or More of Methamphetamine, in violation ofTitie 21, U.S.C., Section 846.

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA

        IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised releasee named
above be transferred with the records of the Court to the United States District Court for the DISTRICT OF ARIZONA upon that
Court's order of acceptance ofjurisdiction. This Court hereby expressly consents that the period ^probation or supervised release
may be changed by the District Court to which this transfer is made without further inquiry ofthi^jC^urt.*



            Date
                        'I                                                        Senior United State        ct Judge

♦This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ARIZONA


        IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and
assumed by this Court from and after the entry of this order.


             January 27, 2022
            Effective Date                                                        United Stales District Judge
